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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

BRANDON TODD OAKEY,                                Case No: 6:16-cv-394-Orl-28DAB
              Plaintiff,

v. 

SUNTRUST MORTGAGE INC.,
                  Defendant.
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                                 NOTICE OF SETTLEMENT

       Pursuant to Local Rule 3.08, the Court is advised that Plaintiff Brandon Todd Oakey and

Defendant Suntrust Mortgage Inc. have reached a fully executed settlement agreement on all is-

sues resolving this action.

                                                s/ George M. Gingo
                                                George M. Gingo
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 25, 2016, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF. I also certify that the foregoing document is being served
this day on all counsel either via transmission of Notices of Electronic Filing generated by CM/
ECF or in some other authorized manner for those counsel or parties who are not authorized to
receive electronically Notices of Electronic Filing.

                                                   /s/ George M. Gingo
                                                   George M. Gingo
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